Case 1:15-cv-06119-AJN-JLC Document 376-8 Filed 06/19/17 Page 1 of 2




            Exhibit 8
              Case 1:15-cv-06119-AJN-JLC Document 376-8 Filed 06/19/17 Page 2 of 2
                                         BPCA000196

Torres, Alexis
From:                        Forst, Robin
Sent:                        Tuesday, May 19, 2015 8:42 AM
To:                          Hyman, Shari; Serpico, Robert; Singh, Seema
Cc:                          Torres, Alexis; McCabe, Kevin
Subject:                     Greer


Called just called me on my cell phone (NO idea where he got my number) asking whether there was supposed to be a
Board meeting today.

I told him the date of our next meeting, as posted on the website. When he asks whether today's meeting was cancelled,
I did not answer.

FYI....in case you get a call from 347 610 6928, it is Greer.

Sent from my iPhone




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